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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

RANDY C. WILLIAMS                                                                      PLAINTIFF

V.                                              CIVIL ACTION NO. 4:20-CV-00077-DMB-DAS

LEE SIMON, et al.                                                                  DEFENDANTS

                                              ORDER

       Plaintiff Randy C. Williams, proceeding pro se, filed the instant action challenging the

conditions of his confinement pursuant to 42 U.S.C. § 1983. Pending before the Court is

Plaintiff’s motion to proceed in forma pauperis (“IFP”) in this action. Upon due consideration,

the Court finds that Plaintiff’s application for leave to proceed IFP is incomplete.

        Under 28 U.S.C. § 1915(a)(2), the plaintiff must “submit a certified copy of the trust

fund account statement [] for the prisoner for the 6-month period immediately preceding the

filing of the complaint . . . .” In moving to proceed IFP, Plaintiff submitted only an application

in which he states that he is not employed, does not receive any income, and does not own any

property. Plaintiff, however, failed to submit a certified copy of his inmate account. Thus, his

application does not comply with the statute’s requirements.

       Accordingly, Plaintiff is directed to submit a certified copy of his inmate account

information “for the 6-month period immediately preceding the filing of [his] complaint” within

twenty-one (21) days from the date of this order. Plaintiff’s failure to do so may result in

dismissal of this action.

       SO ORDERED, this the 6th day of May, 2020.


                                              /s/ David A. Sanders
                                              DAVID A. SANDERS
                                              UNITED STATES MAGISTRATE JUDGE
